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10
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11   UNITED STATES OF AMERICA
12
                              UNITED STATES DISTRICT COURT
13
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                   SOUTHERN DIVISION
15
     UNTIED STATES OF AMERICA,                Case No. 8:18-cv-01175-CJC-KES
16
                 Plaintiff,                   JOINT SCHEDULING
17                                            CONFERENCE REPORT
                       V.                     PURSUANT TO RULE 26(1)
18
   KENNETH FRANCO, VALEN ANAYA,               Honorable Cormac J. Carney
19 JASON ANAYA, TANNERITE, JKM                United States District Judge
20 SHELLS, AND DOES 1 TO 10,
21               Defendants.
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1    I.    INTRODUCTION
2          Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, Rule 26-1 of the
3    Local Rules of the Central District of California, and by Orders of this Honorable Court
 4   dated October 23, 2018 and January 4, 2019 (ECF No. 20, 28), Plaintiff United States of
 5   America, Kenneth Franco, through undersigned counsel, and Valen Anaya, and Jason
 6   Anaya, hereby submit their Joint Report.' The initial Conference of Parties took place
 7   telephonically on February 11, 2019, between Sarah Quist and Kevin Finn for Plaintiff
 8   United States of America and Lizinka C. Benton-Rzeznik for Kenneth Franco, Valen
 9   Anaya, and Jason Anaya. The parties discussed the nature and basis of their claims and
10   defenses and the possibilities for a prompt settlement or resolution of the case. The
11   parties also made arrangements for the disclosures required by Rule 26(a)(1) and
12   developed a proposed discovery plan, as set forth herein below.
13         In this case, Plaintiff United States of America alleges it incurred damages due to
14   the Rock Fire, which began on May 4, 2013. The Rock Fire burned approximately 51
15   acres of National Forest System lands within the Los Padres National Forest in Santa
16   Barbara County, California. Forest Service investigators determined the Rock Fire
17   ignited when Defendant Kenneth Franco shot a target designed and manufactured by
18   Defendant Tannerite, and supplied by Defendant JMK Shells, which exploded and
19   ignited dry vegetation surrounding the target. The United States seeks over $361,000 in
20   damages.
21         The United States alleges that the fire started as a result of Defendants' negligence
22   and defective product. The principal issues in the case are whether Defendants are liable
23   for causing the Rock Fire, whether the fire caused the United States' damages, and, if so,
24   the amount of the United States' damages.
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28          1 Counsel for Tannerite and JKM Shells did not participate in the conference of
     parties but have joined this report.
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 1   II.   DISCOVERY PLAN - REQUIRED BY FED. R. CIV. P. 26(f)
2          A.       Rule 26(a) Disclosures (Rule 26(f)(3)(A))
 3         The parties will make the disclosures required by Rule 26(a)(1) on or before
 4   February 25, 2019. Thereafter, such exchanges of information will be supplemented as
 5   appropriate.
 6   The parties propose the following schedule:
 7              Deadline to file motions to amend pleadings/add parties: April 1, 2019
 8         • Initial expert disclosure & report deadline: November 12, 2019
 9         • Rebuttal expert disclosure & report deadline: December 3, 2019
10         • Discovery cut-off for all discovery: January 7, 2020

11         • Last date for hearing motions: January 7, 2020

12         • Last day to conduct settlement conference: January 10, 2020
                Deadline to file motions in limine, proposed voir dire questions, and agreed-to
13
                statement of case: January 27, 2020
14
           • Deadline to file oppositions to motions in limine: February 3, 2020
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           • Deadline to lodge memoranda of contentions of fact and law: February 3, 2020
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           • Deadline to lodge final pretrial conference order, joint statement of the case,
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                joint exhibit and witness lists, and joint jury instruction and verdict forms:
18
                February 17, 2020
19
           • Final pretrial conference: February 24, 2020, at 1:30 p.m.
20         • Jury trial: March 10, 2020, at 8:30 a.m.
21   The parties believe that the discovery period is appropriate given the technical records
22   and given the time required for experts to review the records. Trial in this case will be
23   by jury. The parties estimates that the trial will take 3-4 days. The parties do not
24   propose severance, bifurcation, or any other change to the ordering of proof.
25         B.       Issues Regarding Discovery (Rule 26(f)(3)(B))
26                  1.    Subjects on Which Discovery May Be Needed
27         The parties shall conduct discovery concerning the claims raised by Plaintiff in the
28   Complaint and the defenses raised by Defendants in their Answers. After an evaluation
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1    of the materials identified by way of initial disclosure, the parties anticipate propounding
2    requests for admissions, interrogatories, and requests for production of documents and
3    other tangible things. In addition to written discovery, the parties anticipate deposing
 4   percipient witnesses. The parties agree to work cooperatively to schedule depositions on
 5   dates convenient for all involved, to the extent practicable.
 6                   2.     When Discovery Should Be Completed
 7         All discovery should be completed on or before January 7, 2020. The parties do
 8   not propose that discovery be conducted in phases or limited to or focused on particular
 9   issues.
10                          a.   Depositions
11         Depositions will be noticed at least 14 days in advance, absent separate agreement
12   of the parties, such as for expert depositions.
13                          b.   Written Discovery
14         Written discovery will be propounded no later than 45 days prior to the discovery
15   cut off of January 7, 2020.
16         C.        Issues Related To Disclosure Of Electronically Stored Information
17                   (Rule 26(f)(3)(C))
18         The parties agree that they will facilitate production of documents by third parties,
19   including by promptly signing any necessary authorizations for release of records by
20   those third parties.
21         The parties have agreed to initially produce digital scanned or hard copies of all
22   relevant documents. The parties agree that that the documents exchanged in this matter,
23   including the documents disclosed as part of the parties' initial disclosures, will be
24   Bates-stamped and provided in either hard-copy or as PDF files, which can be
25   exchanged by being saved on a CD or DVD or exchanged by email or cloud server. The
26   parties will seek to resolve any unforeseen electronic discovery issues in good faith if the
27   issues arise.
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 1         D.     Issues Related To Claims Of Privilege Or Protection Of Trial-
2                 Preparation Material (Rule 26(f)(3)(D))
3          The parties anticipate a joint protective order may be requested by Defendants
 4   Tannerite and JAE( Shells.
 5         E.     Changes To Limitations On Discovery (Rule 26(f)(3)(E))
 6         The parties do not request that the Court change the limitations on discovery
 7   imposed under the Federal Rules of Civil Procedure or the Local Rules, nor do the
 8   parties propose other limitations. However, the parties reserve the right to make such
 9   requests prior to the discovery cutoff date.
10         F.     Additional Orders (Rule 26(f)(3)(F))
11                1.    Rule 26(c) Orders
12         The parties at this time do not anticipate seeking any orders pursuant to Rule
13   26(c) of the Federal Rules of Civil Procedure. However, the parties reserve the right to
14   pursue such orders as needed prior to the discovery cutoff date.
15                2.     Rule 16(b) Orders (Rule 16(b)(3))
16                       (1)   Deadline to Join Parties and Amend Pleadings (Rule 16(b)
17                             and Local Rule 26-1(e))
18         The parties propose April 1, 2019 as the deadline to join other parties. The parties
19   are not aware of other parties likely to be added at this time. The parties do not
20   anticipate any amendments of the pleadings.
21                       (2)   Deadline to Complete Discovery
22         The parties propose January 7, 2020 as the deadline to complete all discovery.
23                       (3)   Deadline to File Motions (Rule 16(b) and Local Rule 26-
24                             1(b))
25         Tannerite and J1(1VI Shells anticipate filing a dispositive motion, and all parties
26   reserve the right. The parties propose January 13, 2020 as the last date for hearing
27   dispositive motions.
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 1                         (4)   Proposed Modifications of Times for Disclosure
 2         The parties have proposed changes to the times for disclosure under Rule 26(a)(2)
 3   as set forth above.
 4                      (5) Proposed Modifications of Extent of Discovery
 5         The parties proposed no modifications regarding the extent of discovery.
 6                         (6)   Proposed Provisions for Disclosure of Electronically Stored
 7                               Information
 8         The parties have agreed to produce hard copies of all relevant documents and to
 9   work together in good faith should any electronic discovery issues arise.
10                         (7)   Proposed Agreements for Asserting Claims of Privilege of
11                               Trial-Preparation Material
12         The parties do not propose any special procedure regarding privilege or protection
13   of trial-preparation material.
14                         (8)   Proposed Date for Conferences Before Trial, Final Pretrial
15                               Conference, and Trial (Rule 16(b) and Trial Estimate -
16                               Local Rule 26-1(d))
17         The parties propose February 24, 2020 as the date for the Final Pretrial
18   Conference. The parties propose March 10, 2020 as the date for trial.
19         The parties estimate that the trial of this matter shall require 3-4 days.
20                3.       Rule 16(c) Orders
21                         (1)   Advisability of Referring Matters to Magistrate Judge
22         The parties respectfully do not consent to reference of this matter to the Magistrate
23   Judge.
24                         (2)   Settlement Procedures (Rule 16(c) and ADR under
25                               Local Rule 26-1(c))
26         The parties have begun preliminary discussions concerning settlement of this
27   action. The parties have agreed to submit to Settlement Procedure No. 2, before a
28   mediator from the Court's Mediation Panel, pursuant to Local Rule 16-15. The parties
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 1   are exploring scheduling an early settlement conference and propose January 10, 2020 as
2    the last day to conduct a settlement conference.
3                       (3)    Form and Substance of Pretrial Order
 4         The Pretrial Conference Order shall be completed in the manner and form
 5   contemplated by Local Rule 16-6 and this Court's Standing Order.
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 1   III. ADDITIONAL ISSUES - REQUIRED BY LOCAL RULE 26-1
2          A.     Complex Cases (Local Rule 26-1(a))
 3         The parties agree that the Manual for Complex Litigation does not apply.
 4                                               Respectfully submitted,
 5    Dated: February 15, 2019                  NICOLA T. HANNA
                                                United States Attorney
 6                                              DAVID M. HARRIS
                                                Assistant United States Attorney
 7                                              Chief, Civil Division
                                                JOANNE S. OSINOFF
 8                                              Assistant United States Attorney
                                                Chief, General Civil Division
 9
                                                 /s/ Sarah Quist
10                                              KEVIN B. FTNN
                                                SARAH QUEST
11                                              Assistant United States Attorney
                                                Attorneys for Plaintiff
12                                              UNITED STATES OF AMERICA
13    Dated: February 15, 2019                  HAGER & DOWLING

14                                                /s/
                                                 LIZINKA C. BENTON-RZEZNIK
15                                               THOMAS J. DOWLING
                                                 Attorney for Defendant
16                                               KENNETH FRANCO

17    Dated: February 15, 2019
                                                  151
18                                               VALEN ANAYA
                                                 Defendant
19
20    Dated: February 15, 2019
                                                  /s/
21                                               JASON ANAYA
                                                 Defendant
22
      Dated: February 15, 2019                   HARRANG, LONG, GARY,
23                                               RUDNICK PC
24                                                /s/
                                                 LORELEI ANN CRAIG
25                                               Attorney for Defendants
                                                 TANNERITE AND JKM SHELLS
26
     Attestation of Filer: I attest that the other signatories listed, and on whose behalf this
27   filing is submitted, concur in the filing's content and have authorized the filing.
     Dated: February 15, 2019                  /s/ Sarah Quist
28                                             SARAH OUTST
                                                   7
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 1                       CERTIFICATE OF SERVICE BY MAIL
 2          I am over the age of 18 and not a party to the referenced action. I am
 3 employed by the Office of United States Attorney, Central District of California.
 4 My business address is 300 North Los Angeles Street, Suite 7516, Los Angeles,
 5 California 90012.
 6       On February 15, 2019 I served JOINT SCHEDULING CONFERENCE
 7 REPORT PURSUANT TO RULE 26(f) on each person or entity named below by
 8 enclosing a copy in an envelope with postage fully prepaid, and placing said
 9 envelope in the United States mail at Los Angeles, California. The envelope was
10 addressed as follows:
11          JASON ANAYA                           VALEN ANAYA
            5566 SAN JUAN WAY                     2291 SEGUNDO COURT, #3
12          PLEASANTON, CA 94566                  PLEASANTON, CA 94588
13
          I declare that I am employed in the office of a member of the bar of this
14 Court at whose direction the service was made.
15       I declare under penalty of pefjury under the laws of the United States of
16 America that the foregoing is true and correct.
17      Executed on: February 15, 2019, at Los Angeles, California.
18
19
      DATED: February 15, 2019
20                                                    LOUISA LIN
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